        Case 1:22-cv-00306-LY Document 10 Filed 04/29/22 Page 1 of 1
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                      IN THE UNITED STATES DISTRICT COURT                        APR 292O
                       FOR THE WESTERN DISTRICT OF TEXAS                     CLERK     .
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                                 AUSTIN DIVISION                             VSTERN                TEXAS

                                                                                                 DEPUTY
LAVONYA N. ROBERSON,

       Plaintiff,                               Case No. 1 :22-cv-00306-LY

V.


 THE CBE GROUP, INC.,

      Defendant.


                    ORDER ON MOTION TO WITHDRAW AS COUNSEL

      Counsel for Plaintiff, Victor T. Metroff, having filed with this Court his Motion to

Withdraw and the Court having reviewed same, it is hereby ORDERED:

       1.   Victor T. Metroff is granted leave to withdraw as counsel for LAVONYA N.

            ROBERSON.

Dated:_______
